573 F.2d 1308
    99 L.R.R.M. (BNA) 2633, 84 Lab.Cas.  P 10,826
    Local Union No. 4-449, Oil Chemical and Atomic WorkersInternational Union, AFL-CIOv.Amoco Chemical Corp.*
    No. 77-3146
    United States Court of Appeals, Fifth Circuit
    5/16/78
    
      1
      S.D.Tex.
    
    
      2
      AFFIRMED***
    
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        ***
         Opinion contains citation(s) or special notations
      
    
    